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DISTRICT RePcourr,

UNITED STATES DISTRICT COUR Tov

for the “TPH 3: 99
District of Colorado JEFFR eye Cot LWELL

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Case No. 20-cv-00452- WJM-SKC
Tiffany Grays, pro se
Plaintiff(s)

-V-

Equifax Inc. d/b/a/ Equifax Information
Services LLC., Experian Information Solutions,
Inc., Trans Union LLC., Innovis Data Solutions,

Inc., Navient Corporation d/b/a Navient

Solutions, Inc.
Defendant(s)

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PLAINTIFF’S REQUEST FOR ACCOMADTIONS

 

Plaintiff, Tiffany Grays, pro se asking to be identified as an individual as having such
impairment pursuant to 42 U.S. Code § 12102(3)(A), resulting in Plaintiff not being compelled
to answer court staff's courtesy questions upon premises, to be allowed to be accompanied by a
companion for trial, and conduct all other hearings via phone so as to limit Plaintiff's exposure to
her PTSD triggers and allow the expedient economical dispensing of justice. Plaintiff should not
be forced to choose between health and life or liberty and justice. Plaintiff's accommodation
requests are appropriate as COVID-19 has shown alternatives methods to conducting in person

hearings are just as sufficient. Respectfully Submitted, /s/ Tiffany Grays, pro se

 

Tiffany Grays

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Aurora, CO 80047
(720) 623-1883

‘ Legalgrays@gmail.com
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UNITED STATES DISTRICT COURT

for the
District of Colorado
Tiffany Grays, pro se 20-cv-00452-WJM-SKC
Navient Solutions, et al
CERTIFICATE OF SERVICE

I hereby certify that on the Ist day of November 2021, I have filed the foregoing with the Clerk
of Court. I will also e-mail a true and correct copy of this document to the following:

DOCUMENT: PLAINTIFF’S REQUEST FOR ACCOMADTIONS

Dennis Norman Lueck Jr
dlueck@spencerfane.com
Michael Kaufmann

c m
Counsel for Navient Defendants

/s/ Tiffany Grays, pro se.

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